Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 1 of 18




               EXHIBIT A
             Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 2 of 18
                                                                                                                2/24/2021 5:07 PM
                                                                                     Marilyn Burgess - District Clerk Harris County
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                                 2021-10741 / Court: 157                                                           By: Adiliani Solis
                                                                                                         Filed: 2/24/2021 5:07 PM

                                                 NO. _ _ _ __

       NORA GA TICA                                       §                  IN THE DISTRICT COURT OF
                 Plaintiff,                               §
                                                          §
       vs.                                                §                     HARRISCOUNTY,TEXAS
                                                          §
       COSTCO WHOLESALE CORPORATION                       §
       ANDJOHNDOE                                         §                            JUDICIAL DISTRICT
               Defendants                                 §

                                   PLAINTIFF'S ORIGINAL PETITION

       TO THE HONORABLE JUDGE OF SAID COURT:

               NOW COMES Plaintiff, complaining of Defendants, and for cause 1of action shows the

       following:

                                                       I.
                                             Discovery Control Plan

               Plaintiff intends for discovery to be conducted under Level Three (3).

                                                        II.
                                                      Parties

               Plaintiff Nora Gatica is an individual resident of Harris County, Texas.

               Defendant Costco Wholesale Corporation is a foreign for-profit corporation engaged in

       business in the State of Texas with a principal place of business at 999 Lake Drive, Issaquah,

       Washington 98027, and may be served with process through its registered agent, CT Corporation
i---
'ti    System at 1999 Bryan St., Suite 900, Dallas, TX 75201 or wherever they may be found.

               Defendant, John Doe, is an individual residing in Texas and was employed by Defendant

       Costco Wholesale Corporation's facility at 23645 Katy Fwy., Katy, TX 77449 on March 22, 2019.

       The identity of said employee of Defendant Costco Wholesale Corporation is unknown to Plaintiff

       despite Plaintiffs best efforts to identify the employee. Plaintiff files suit against this "John Doe"
    Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 3 of 18




Defendant for the purpose of preserving the Statute of Limitations against this Defendant and

intends to serve said individual with citation and process when his/her identity becomes known.

                                                 III.
                                       Jurisdiction and Venue

        Jurisdiction is proper in this Court because Plaintiff is entitled to damages in excess of the

minimum jurisdiction of this Court. Although Plaintiff has confidence that the Jury will award a

fair and just amount of damages in this matter, Plaintiff is required to plead a specific amount of

damages or Defendant may seek Court intervention. Accordingly, although Plaintiff leaves the

amount of damages to the Jury, Plaintiff would show the Court and Jury that due to the negligence

of Defendant, Plaintiff seeks monetary relief less than $250,000.00 and non-monetary relief.

        Venue is proper in Harris County, Texas, pursuant to§ 15.002(a)(l), of the TEXAS CIVIL

PRACTICE AND REMEDIES CODE, because it is the county in which all or a substantial part of the

events or omissions giving rise to the claim occurred.

                                                   IV
                                                  Facts

       The subject matter of this suit is a slip and fall incident that occurred at Defendant Costco

Wholesale Corporation's premises located at 23645 Katy Fwy, Katy, TX 77449. At all times

material to this cause of action, Defendant Costco Wholesale Corporation owned the premises in

question, and Defendant Costco Wholesale Corporation managed, controlled, and/or operated the

premises in question. On or about March 22, 2019, Plaintiff slipped and fell while shopping due

to Defendant's failure to maintain the premises in a safe manner.

       There were no warning signs posted in the area to warn Plaintiff of the dangerous condition,

and no equipment or materials for the purposes of preventing or reducing the risk of slipping and/or

falling as a result of the dangerous condition.



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     Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 4 of 18




         As a result of the fall, Plaintiff sustained serious and permanent personal injuries and

damages.

         Despite medical treatment for the injuries sustained, Plaintiff faces a life of permanent

injuries, pain, and impairment.

                                               ·v.
                                     PREMISES LIABILITY

         A water pipe leaking onto one of the of the aisles of a warehouse store presents an

unreasonably dangerous condition to the general public.

         Defendants knew or should have known of the water pipe leak and unreasonably dangerous

floor.

         Defendants knew or should have known that customers like Plaintiff would be walking

through the aisles of its warehouse store browsing its products and that a puddle of water due to a

leaking pipe in the middle of one of its aisles is unreasonably dangerous to customers.

         An owner or occupier of ordinary prudence under the same or similar circumstances would

have made the floors safe.

         An owner or occupier of ordinary prudence would have warned customers like Plaintiff of

the danger presented by a puddle of water in the middle of an aisle, especially given the fact that

customers routinely enter the warehouse store to browse for products displayed throughout the

aisles of the warehouse store.

         An owner or occupier of ordinary prudence under the same or similar circumstances would

have made the premises reasonably safe by taking reasonable steps to protect customers entering

and shopping in its store.

         Defendants made no effort to warn Plaintiff of the puddle of water and unreasonably

dangerous floor.


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     Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 5 of 18




         Plaintiff was not aware of the water on the floor.

         It was necessary for Plaintiff to encounter the puddle of water and unreasonably dangerous

floor in order to shop in the warehouse store.

         Defendant should have reasonably anticipated it would be unreasonable for Plaintiff to take

precautions that could have reduced her risk of encountering the unsafe condition and

unreasonably dangerous floor.

         If Plaintiff had not encountered the unsafe condition caused by the leaking pipe and

unreasonably dangerous floor, she would not have slipped and fallen.

         If Plaintiff had not fallen, she would not have sustained the injuries that culminated the

need for medical treatment and permanent pain and impairment.

         An owner of ordinary prudence under the same or similar circumstances would have

foreseen that Plaintiffs injuries, or some similar injuries might reasonably result from an unsafe

condition and unreasonably dangerous floor at a popular warehouse store chain.


                                                VI.
                                             Negligence

         Plaintiff will show that on the occasion in question, Defendants Costco Wholesale

Corporation and John Doe were negligent and negligent per se, including, but not limited to, in the

following respects and that Defendants' acts or omissions were the proximate cause of Plaintiffs

injuries:

    1.   Failing to keep the premises reasonably safe so as to protect Plaintiff;
    2.   Failing to use ordinary care;
    3.   Failing to meet the standard of care owed to invitees on the premises;
    4.   Maintaining a condition on the premises that posed an unreasonable risk of harm;
    5.   Failing to properly clean the warehouse store;
    6.   Failing to properly inspect the warehouse store;
    7.   Failing to properly maintain water pipes in the warehouse store;
    8.   Failing to dry the puddle of water created by its leaking pipes;


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             Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 6 of 18




            9. Failing to place warning signs to adequately warn customers of the unsafe condition;
            10. Failing to adequately instruct and/or supervise store employees with respect to placing
                warning signs to adequately warn, taking measures to properly abate, and otherwise
                keeping the condition of the premises reasonably safe; and
            11. Failing to implement safety and inspection policies and procedures to prevent and abate
                conditions upon the premises that constitute unreasonable risks of harm to customers and
                invitees.

                Each of these acts and/or omissions of Defendants, singularly, collectively, and/or

        disjunctively were negligent and were each and all a proximate cause of the incident made basis

        of this lawsuit and of the injuries and damages suffered by Plaintiff.

                                                       VII.
                                                Respondeat Superior

                Whenever in this Petition it is alleged that Defendant Costco Wholesale Corporation did

        or failed to do any particular act and/or omission, it is meant that Defendant John Doe, acting

        individually, or by and through its agents, officers, directors, servants, manager, and employees,

        either did or failed to do that particular act and/or omission, in the course and scope of its

        employment, agency or contract with Defendant Costco Wholesale Corporation, and in the

        furtherance of Defendant Costco Wholesale Corporation's business, including but not limited to

        the following elements of liability:

               1.      Plaintiff was injured as the result of a tort;

               2.      The tortfeasor was an employee of the Defendant Costco Wholesale Corporation;
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 ~             3.      The tort was committed while the employee was acting within the scope of
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00                     employment; that is, the act was
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                       a.      within the employee's general authority;
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s
z                      b.      in furtherance of the Defendant Costco Wholesale Corporation's business,
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            Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 7 of 18




                       c.      for the accomplishment of the object for which the employee was hired.


                                                       VIII.
                                                      Damages

               Plaintiff suffered the following legal damages as a result of the conduct of Defendants:

               A     Medical, hospital, pharmaceutical expenses in the past;
               B.    Medical, hospital, pharmaceutical expenses that, in reasonable probability Plaintiff
                     will incur in the future;
               C.    Physical pain and suffering in the past;
               D.    Physical pain and suffering that, in reasonable probability, Plaintiff will suffer in the
                     future;
               E.    Mental anguish in the past;
               F.    Mental anguish that, in reasonable probability, Plaintiff will suffer in the future;
               G.    Physical impairment in the past;
               H.    Physical impairment that, in reasonable probability, Plaintiff will suffer in the future;
               I.    Physical impairment in the past;
               J.    Physical impairment that, in reasonable probability, will suffer in the future;
               K.    Loss of wage earning capacity in the past; and,
               L.    Loss of wage earning capacity that, in reasonable probability, Plaintiff will suffer in
                     the future;

                                                          IX.
                                                Required Disclosures

               Pursuant to TEX. R. CIV. P. 194, Defendant may be required to disclose to Plaintiff, at the

        office of the undersigned counsel for Plaintiff, all information or material described in TEX. R.

        CIV. P. 194.2, 194.3, and 194.4 within 30-days after the filing of Defendant's first answer to

        Plaintiffs Original Petition.
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                               Court Costs, Pre-Judgment and Post-Judgment Interest
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               Plaintiff is entitled to recover court costs, pre-judgment and post-judgment interest at the legal

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t r)    rate as provided by law.
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                                                      Juty Trial

               Plaintiff demands a trial by jury.
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               Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 8 of 18




                 WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be duly cited

        in terms of law to appear and answer and that Plaintiff recovers judgment against Defendants for

        Plaintiffs damages along with pre-judgment and post-judgment interest at the legal rate; costs of

        Court and for such other and further relief to which Plaintiff may be entitled under equity and in

        law.



                                                            Respectfully submitted,

                                                            THE JAMES LAW FIRM

                                                             By: Isl K. James
                                                             Katherine M. James
                                                             State Bar No. 24091634
                                                             John Hallman
                                                             State Bar No. 24092474
                                                             1095 Evergreen Circle, Suite 537
                                                             The Woodlands, TX 77380
                                                             281.962.8985/Phone
                                                             281.962.5183/Fax
                                                            kj@katherinejameslaw.com
                                                            jh@katherinejameslaw.com
                                                            Counsel for Plaintiff




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this March 19, 2021


     Certified Document Number:         94511860 Total Pages: 7




     Marilyn Burgess, DISTRICT CLERK
     HARRISCOUNTY,TEXAS




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                                                                Request for Issuance of Seivice
           CASE NUMBER:                                                        CURRENT COURT: _ _ _ _ _ _ _ _ _ _ _ _ __

           Name(s) of Documents to be served: Plaintiff's Original Petition, Request for Disclosure, and First Set of Discovery

          FILE DATE: _ _ _ _ _ _ _ _ _ Month/Day/Year
          SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
           Served):
           Issue Service to:        Costco Wholesale Corporation
           Address of Service:          1999 Bryan St, Ste. 900
           City, State & Zip: Dallas Texas 75201
           Agent (if applicable) CT Corporation System
           TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
           IB] Citation          D    Citation by Posting               D    Citation by Publication              D     Citations Rule 106 Service
          D Citation Scire Facias Newspaper_ _ _ _ __
          D Temporary Restraining Order          D Precept                     D Notice
          D Protective Order
          D Secretary of State Citation ($12.00) D Capias (not by E-Issuauce)  D Attachment (not by E-Issuauce)
          D Certiorari                           D Highway Commission ($12.00)
          D Commissioner of Insurance ($12.00) D Hague Convention ($16.00) D Garnishment
          □ Habeas Corpus (not by E-Issuance)    D Injunction                  D Sequestration
          D Subpoena
          D Other (Please Describe) _ _ _ _ _ _ _ _ _ _ _ _ _ __
           (See additional Forms for Post Judgment Service)
;:             SERVICE BY (check one):
~ 0 ATTORNEYPICK-UP(phone) _ _ _ _ _ __ IB] E-Issuance by District Clerk
i D MAIL to attorney at: _ _ _ _ _ _ __                             (No Service Copy Fees Charged)
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°'~       0     CIVIL PROCESS SERVER-Authorized Person to Pick-up:                                                                Phone:
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          □ OTHER, explain Email citation to jk@katherinejameslaw.com
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          Issuance of Service Requested By: Attorney/Party Name: Katherine James                                        Bar# or ID         24091634
~ Mailing Address: 1095 Evergreen Circle, Ste. 537, The Woodlands, Texas 77380
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·-e Phone number: 281.962.8985
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              Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 11 of 18




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this March 19, 2021


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                                                     AFFIDAVIT OF SERVICE

        State of Texas                                           County of Harris                                 157th Judicial District Court

        Case Number: 202110741

        Plaintiff:
        Nora Gatica
        vs.
        Defendant:
        Costco Wholesale Corporaton

        For:
        Katherine James
        Katherine James Law
        440 Louisiana, Ste. 900
        Houston, TX 77002

        Received by Legal Process Resources on the 28th day of February, 2021 at 5:55 am to be served on
        Costco Wholesale Corporation c/o Registered Agent CT Corporation System, 1999 Bryan St., Ste.
        900, Dallas, TX 75201.

        I. Kenneth R. Frechette, being duly sworn, depose and say that on the 2nd day of March, 2021 at 11 :30
        am, I:

        delivered to its REGISTERED AGENT a true copy of the Citation, Copy of Plaintiff's Original Petition
        with the date of service endorsed thereon by me, to: Lindsay Barrientez as the authorized agent at the
        address of: 1999 Bryan St., Ste. 900, Dallas, TX 75201 authorized to accept service on behalf of Costco
        Wholesale Corporation, and informed said person of the contents therein, in compliance with state
        statutes.


        I certify that I am over the age of 18, have no interest in the above action, and am a Certified Texas
        Process Server, in good standing, in the judicial circuit in which the process was served .




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                                                                                     Kenneth R. Frechette                           -·
        Subscribed and Sworn to before me on the              JrvA                   PSC 13712 Exp. 12/31/22
        day of {Y\{tffh          , 1M.l  by the affiant
        who is personally known to me.                                               Legal Process Resources
         /22. . .        h "·
        I/ ~1 1.oJJlU:'c:~ f c'icC(,.l ,_;)                                          2042 Glencove Drive
                                                                                     Seabrook, TX 77586
        "NOTARY PUBLIC                                                               (281) 830-6000

                                                                                     Our Job Serial Number: AHC-2021000090
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              Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 13 of 18




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     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this March 19. 2021


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                                       Harris County Docket Sheet


2021-10741
COURT: 157th
FILED DATE: 2/24/2021
CASE TYPE: Premises

                                       GATICA, NORA
                                  Attorney: JAMES, KATHERINE MARY

                                                vs.
                           COSTCO WHOLESALE CORPORATION


                                        Docket Sheet Entries
             Date      !Comment




2021-10741                                                                          Page 1 of 1

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                                  CAUSE NO. 2021-10741

 NORA GATICA,                                   §        IN THE DISTRICT COURT OF
                                                §
                 Plaintiff,                     §
                                                §
 vs.                                            §        HARRIS COUNTY, TEXAS
                                                §
 COSTCO WHOLESALE CORPORATION,                  §
 AND JOHN DOE                                   §
                                                §
                 Defendant.                     §        157TH JUDICIAL DISTRICT

                DEFENDANT COSTCO WHOLESALE CORPORATION'S
               ORIGINAL ANSWER TO PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Defendant, COSTCO WHOLESALE CORPORATION, in the

above-entitled and numbered cause of action and files this Original Answer to Plaintiff's

Original Petition as follows:

                                    GENERAL DENIAL

1.       In accordance with Rule 92 of the Texas Rules of Civil Procedure, Defendant

generally denies the allegations in this lawsuit made by Plaintiff, NORA GATICA, and

demands strict proof thereof in accordance with the Constitution and laws of the State of

Texas.

                                   II. RIGHT TO AMEND

2.       Defendant respectfully reserves the right to amend this Answer after it has had the

opportunity to more closely investigate these claims as is its right and privilege under the

Texas Rules of Civil Procedure and the laws of the State of Texas.
     Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 16 of 18




                           Ill. REQUEST FOR JURY TRIAL

3.     Defendant COSTCO WHOLESALE CORPORATION respectfully demands a trial

by jury pursuant to the provisions of Rule 216 of the Texas Rules of Civil Procedure.

                                      IV. PRAYER

4.     WHEREFORE, Defendant COSTCO WHOLESALE CORPORATION prays that

the Plaintiff NORA GATICA take nothing in her lawsuit against Defendant and that the

Court grant Defendant such other and further relief, general and special, at law or in

equity, to which Defendant may be justly entitled.

                                         Respectfully submitted,


                                         HEARD & MEDACK, P.C.



                                         By: Isl David W Medack
                                             David W. Medack
                                             State Bar No. 13892950
                                            Zachary Z Robichaux
                                             State Bar No. 24103302
                                             14100 Southwest Freeway, Suite 300
                                             Sugar Land, Texas 77478
                                            Telephone: (713) 772-6400
                                             Facsimile: (713) 772-6495
                                            dmedack@heardmedackpc.com
                                            zrobichaux@heardmedackpc.com

                                         ATTORNEYS FOR DEFENDANT
                                         COSTCO WHOLESALE CORPORATION




                                            2
           Case 4:21-cv-00941 Document 1-1 Filed on 03/23/21 in TXSD Page 17 of 18




                                       CERTIFICATE OF SERVICE

               Pursuant to Rule 21 a of the Texas Rules of Civil Procedure, I hereby certify that a
        true and correct copy of the foregoing has been served upon all known counsel of record,
        by facsimile, email, hand delivery, U.S. First Class Mail and/or certified mail, return receipt
        requested, on this the 22 nd day of March, 2021.

               Katherine M. James
               State Bar No. 24091634
               John Hallman
               State Bar No. 24092474
               The James Law Firm
               1095 Evergreen Circle, Suite 537
               The Woodlands, Texas 77380
               (281) 962-8985 - Telephone
               (281) 962-5183- Facsimile
               Email: kj@katherinejameslaw.com
               Email: jh@katherinejameslaw.com

               ATTORNEYS FOR PLAINTIFF

                                                   Isl David W Medack
                                                   David W. Medack




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     County, Texas certify that this is a true and
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     this March 23, 2021


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     HARRIS COUNTY, TEXAS




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